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1                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
2                           NORTHERN DIVISION

3    UNITED STATES OF AMERICA,   )
          Plaintiff,             )
4                                )
          vs.                    ) CRIMINAL CASE NO. CCB-17-106
5                                )
     DANIEL THOMAS HERSL and     )
6    MARCUS ROOSEVELT TAYLOR,    )
          Defendants.            )
7    ____________________________)

8

9                        Tuesday, January 23, 2018
                              Courtroom 1A
10                         Baltimore, Maryland

11
            BEFORE:    THE HONORABLE CATHERINE C. BLAKE, JUDGE
12                     (AND A JURY)

13
                              VOLUME I - EXCERPT
14
                      OPENING STATEMENT OF MR. PURPURA
15

16

17   For the Plaintiff:

18   Leo J. Wise, Esquire
     Derek E. Hines, Esquire
19   Assistant United States Attorneys

20
     _______________________________________________________________
21

22
                                 Reported by:
23
                        Douglas J. Zweizig, RDR, CRR
24                     Federal Official Court Reporter
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25                       Baltimore, Maryland 21201

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1    For the Defendant Daniel Hersl:

2    William B. Purpura, Jr., Esquire
     Thomas W. Rafter, Esquire
3
     For the Defendant Marcus Taylor:
4
     Christopher C. Nieto, Esquire
5    Jenifer Wicks, Esquire

6

7    Also Present:

8    Special Agent Erika Jensen, FBI

9    TFO John Sieracki

10   Matthew Kerrigan, Government's Trial Technician

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1                           P R O C E E D I N G S

2         (Excerpted as follows:

3             THE COURT:    Be seated, please.

4             Are we ready for the jury?

5             MR. PURPURA:    Ready.    Thank you.

6             MR. WISE:    Yes, Your Honor.

7             THE COURT:    Okay.

8         (Jury entered the courtroom at 11:58 a.m.)

9             THE COURT:    All right.    You can all be seated.

10            Okay.    Mr. Purpura.

11            MR. PURPURA:    Your Honor, thank you.

12            On March 1st, 2017, after 17 years as a Baltimore City

13   police officer -- let me rephrase that -- as a street cop, a

14   cop who was designated from his first year through his 17th

15   year to go after street-level drug dealers and people carrying

16   guns in the city of Baltimore, after 17 years, on March 1st,

17   2017, Danny Hersl (indicating) was requested to come in

18   directly from his home -- just moved out to Harford County,

19   Joppa -- to come to Internal Affairs.

20            He complied.    He arrived.     He was greeted by FBI task

21   force officers.   He was arrested.     He was handcuffed.      He was

22   searched.   His house in Joppa was searched.       His vehicle was

23   searched.   He was brought here to this very courthouse, the

24   United States District Court here in Baltimore.         He was then

25   brought to the seventh floor for initial appearance.          He was

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1    detained, and he's been detained every day since.

2               The evidence will show -- and it will show -- that

3    Danny Hersl, like every other Baltimore City police officer,

4    pledge allegiance to this country and take an oath of office.

5               The evidence will show that in 1999, after

6    Daniel Hersl completed the police academy, he took first the

7    Pledge of Allegiance, that I pledge allegiance to the flag of

8    the United States of America, and to the republic for which it

9    stands, one nation, under God, indivisible, with liberty and

10   justice for all.

11              In addition, after completion of the police academy,

12   he took the following oath:     I -- and he said "Daniel Hersl" --

13   swear that I will support the Constitution of the

14   United States, that I will be faithful and bear true allegiance

15   to the State of Maryland and support the Constitution and laws

16   thereof.   And I will, to the best of my skill and judgment,

17   diligently, without partiality or prejudice, execute the office

18   of law enforcement officer according to the Constitution and

19   laws the laws of the State.

20              The evidence will show -- and it will show -- that

21   Daniel Hersl did breach that oath, that his actions embarrassed

22   the City, the Baltimore City Police Department, his family, and

23   himself.

24              The evidence will show -- and it will show -- that on

25   several occasions in a 17-year history of work for

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1    Baltimore City Police that Daniel Hersl either took money

2    and/or received money which was taken.

3             The evidence will show -- and it will show -- that

4    Daniel Hersl committed the crime of theft.        That's not a crime

5    of violence.   That's not a crime of use of violence.         That's a

6    crime of dishonesty and a crime of stealth.        Nothing to be

7    proud of.   That's what he did.

8             What he didn't do is commit the crime of robbery

9    and/or extortion by force.     Those are oversimplifications, but

10   you know the difference.

11            We are here in a United States District Court before a

12   United States District Court Judge, appointed by the President,

13   confirmed by Congress, rather than down a few blocks to the

14   north on Calvert Street in state court where the theft case

15   would be and should be tried.

16            We are here -- and this may come as a shock to you,

17   but we're here because the United States Government, the -- as

18   they're referred to, the Twin Towers of Justice, overcharged in

19   this particular case and they overcharged Daniel Hersl.

20            The evidence will show that the Government lumped

21   Daniel Hersl's wrong conduct, wrong conduct -- there's no

22   excuse for it -- wrong conduct into a racketeering enterprise

23   where other officers actually did commit a real robbery, real

24   drug trafficking, and real extortion.       And you'll hear from

25   those officers -- in particular, Officers Gondo and Rayam.

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1               The -- and the Court's going to give you instructions,

2    so you don't have to worry about writing these things down.

3    You're going to get a nice, big, thick packet of instructions,

4    and it is going to be thick.

5               So long story short is that this is what the

6    Government has charged, racketeering.

7               There's many, many more enumerated, major crimes in

8    the RICO statute, approximately 35.

9               The Government has chosen to charge Mr. Hersl with the

10   three, which is robbery, extortion, and fraud.         Theft, theft,

11   what he did is not an enumerated crime under this statute.

12              Mr. Hersl is also charged with a Hobbs Act robbery,

13   and you heard that it's either robbery and/or extortion.          And

14   whether it's robbery and/or extortion, there has to be force,

15   threat of force, and/or violence applied.

16              He's charged in the substantive -- that means a single

17   count set aside for the RICO -- with a Hobbs Act robbery on

18   July 8th, 2016, of Ronald -- and don't forget, Government,

19   Nancy was home too.    And if the Government doesn't call

20   Nancy Hamilton, I guess we're going to have to get her in here

21   anyway.    July 8th, 2016.

22              In addition, he's charged -- and this is an important

23   count.    It's called a 924(c) count.     That's the shortened

24   version of use of a handgun in the commission of a crime of

25   violence.   And you'll see where that's important in a moment.

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1             You will hear from Detectives Gondo and Rayam and

2    Detectives Ward and Hendrix.

3             Detectives Gondo and Rayam will tell you, as the

4    others, that they have a cooperation agreement.

5             The cooperation agreement has a special section called

6    a sealed supplement, which is in the back, which allows a

7    reduced sentence.    And they will tell you honestly that they

8    hope to receive that.

9             And they will tell you from the witness stand why,

10   'cause they will tell you in the federal system there is no

11   parole; that you serve your time, except for maybe a modest,

12   modest 47 to 54 days off per year.       So it's basically day for

13   day in the federal system.

14            And they will tell you that by pleading and by

15   cooperating, that they will avoid this 924(c) count.

16            And they will tell you what that means to them.          And

17   what that means to them is the 924(c), the use of a handgun in

18   the commission of a crime of violence, carries a mandatory five

19   years consecutive to any other charge.       Five years consecutive

20   to the RICO.

21            And they will tell you that if they were charged in

22   all the robberies they participated in with the 924(c), it

23   would be 5 for the first; 25 years for the second, so two

24   robberies, two 924(c) counts; 30 years with no parole, not even

25   including the robbery.

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1              And they will tell you that they did commit -- and I

2    use the word "real" -- a real robbery.

3              They will tell you, in particular --

4    ex-Detective Gondo will tell you that he had a childhood

5    friend.   His name was Kyle Wells.     They kind of broke paths.

6              Gondo went to the police; Wells went to be a major

7    drug trafficker in Baltimore City.       They stayed friends.

8    Detective Gondo helped him while he was a police officer and

9    ended up working in his drug conspiracy.

10             They will tell you that they targeted another drug

11   trafficker, and his name was Anderson.       And both Gondo and

12   Rayam will tell you that they placed what's called a GPS

13   tracker on Mr. Anderson's vehicle.

14             Now, they placed that tracker on his vehicle because

15   they wanted to monitor where he was.       They wanted to make

16   sure -- now, listen, this is important.

17             They wanted to make sure that Anderson was away from

18   the apartment when they were going to break into his house and

19   steal what they thought was going to be a large amount of cash

20   and drugs.    They didn't want him there.

21             What their intent -- it was not police work; that's

22   for sure.    Their intent was to commit what's called a burglary

23   under state crime.    That's breaking into someone's house when

24   they're not there.    That's why they put the GPS on there.           They

25   didn't want anybody home.

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1              And Detective Rayam will tell you that even when he

2    got to the house with Mr. Wells and Gondo is parked right out

3    in front as a lookout, that he went to the extent to knock --

4    (knocking) -- really hard on the door to make sure no one's

5    home because he didn't want to commit a robbery.         His intent

6    was not police work.    His intent was to commit a burglary, to

7    go in the house and steal money.

8              Knocks on the door.     No one's home.    Kicks the door

9    open, bang.   He and Wells go in.

10             Best-laid plans go awry.     There in the bedroom is the

11   paramour of Mr. Anderson.     Detective Rayam will say what

12   started as a burglary now turns into a robbery.         He takes his

13   hoodie; he tightens it up around his face so he can't be seen.

14   He takes his gun, his service revolver, and he points it at the

15   young woman in the bed, in the bedroom.

16             And he says the following -- and I'm fairly accurate

17   of what he's going to say because we have a transcript of his

18   prior testimony, and he told you he's testified on this once

19   before.

20             He's going to tell you that I pulled out my gun to

21   startle her, and I was trying to scare her.        And I know I gave

22   her some orders like, "Just don't move."        I could have even

23   said, "I'ma kill you.    Where's the money?"

24             That, through the Government's own witnesses, will be

25   illustrative of a robbery.

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1             What the evidence will show -- and it will show --

2    that in a 17-year career, that Dan Hersl arrested criminals

3    doing criminal acts; that he seized their drugs, seized the

4    guns, seized the money, seized what they had; and on a few

5    occasions -- not with any forethought, but at that particular

6    time when the money was there on those few occasions, it was a

7    crime of theft, a crime of the moment.

8             As to the overtime fraud, the year 2015 is an

9    important year.   The year 2015, the city of Baltimore was

10   gripped with riots.

11            In 2015, we had at that point a record number of

12   homicides by handguns in Baltimore City that shocked not

13   Baltimore City but shocked the country.

14            The mandate of the GTTF, their mandate was to get guns

15   off the street.   Quite frankly, we don't care how you do it,

16   but do it.

17            In return -- and they got guns off the street.          And

18   what they did, they have violated the Fourth Amendment on a few

19   occasions, but they got guns off the street.

20            And as a result, they were given what's called

21   slash days, slash days.    Slash days is a back-end day off

22   because you got one or two guns off the night before.         Overtime

23   signed for.

24            Or they're given four hours to eight hours per gun you

25   get off the street, an incentive to do it.

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1             This overtime was given with a wink and a nod, right

2    up the chain of command, as long as we can say statistically

3    we're gettin' guns off the streets of Baltimore City.

4             It's good afternoon now.      My name is Bill Purpura.

5    I'm a defense attorney, if you could have guessed.         Along with

6    Tom Rafter -- he's my colleague -- we're sitting here and we're

7    going to represent to the best of our abilities Daniel Hersl.

8             You will hear that Daniel Hersl is 48 years old.             He's

9    the youngest of six children.     He was born and raised here in

10   Baltimore; educated at Patterson High School here in

11   Baltimore City; lived here his whole life; just before his

12   arrest, he'd moved out to a small rancher in Harford County in

13   Joppa.

14            His mom, Dorothy, is still alive, still lives here in

15   Little Italy.    Now, I mention that because that actually is

16   going to come into play in this case.

17            With his overtime, the Government's tracking

18   Mr. Hersl's whereabouts.    And his mom, Dorothy, she lives in

19   Little Italy.    That's just a stone's throw from the main police

20   headquarters on Baltimore Street, just a stone's throw.

21            And, you know, it is a fact -- the Government has

22   surveillance on this.    They even have his phone showing where

23   he is in Little Italy a couple times, maybe -- maybe more than

24   a couple times, because he does go there while he's working and

25   on overtime.    And he loves to visit his mom.      He might bring

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1    her coffee and doughnuts, so he's done that.        There's no

2    question.   We're not hiding that.

3             There are certain keywords in every criminal case, and

4    the first keyword in this case is "reasonable doubt."         And

5    unlike state court -- remember I mentioned theft cases right

6    down the street, Baltimore City Circuit Court?        In state court,

7    the judge would instruct you what reasonable doubt is.

8             Here in the Fourth Circuit, we believe that you all

9    intuitively know when you see it, when you hear it, what

10   reasonable doubt is.    And I believe that as well.       And you will

11   see it, and you will hear it in this particular case.

12            And you'll know reasonable doubt without an

13   instruction the same way you're going to know the difference

14   between robbery and extortion and theft without an instruction,

15   the same way.

16            The Government has the burden of proof.         We need not

17   do anything.    Need not open, need not cross-examine witnesses,

18   need not call witnesses for sure.      It's the Government's burden

19   alone.

20            And if you picture the scales of justice in a civil

21   case, as the Court mentioned, it's by a preponderance of the

22   evidence.   That's more likely than not.      Just simply tipping

23   the scales.

24            In a criminal case, picture those scales again, and

25   it's proof beyond a reasonable doubt.       And there's a reason for

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1    that.   In a civil case, we're talking about money.

2              In a criminal case, we're talking about liberty.

3              Now, what specific acts does the Government allege in

4    wrongdoing involving Daniel Hersl?

5              The Government is going to suggest that these acts

6    here (indicating) are acts of robbery and acts of extortion.

7              The evidence will show -- and it will show -- that on

8    each and every one of these instances in a 17-year career, that

9    it was Daniel Hersl's intent when he first came up to make the

10   arrest and his continued intent as he was making the arrest and

11   seizing guns or drugs or money to do everything properly.

12             Jimmie Griffin, November 5th, 2014, you will hear

13   Jimmie Griffin is a criminal.     Prior to November 5th, 2014,

14   Jimmie Griffin had a handgun conviction at the ripe age of 21

15   here in Baltimore City.    That doesn't stop him.

16             There is a valid search warrant.      There's about ten

17   Baltimore City task force officers.      There's Detective Hersl as

18   well at that time.   They go to Jimmie Griffin's house.         Mom

19   lives upstairs.   Jimmie's got a basement, little apartment.

20   And Mom apparently has no knowledge of what's going on in that

21   house, because in that house on Pinewood Avenue, the detectives

22   seize a loaded 9-millimeter handgun -- it's a big darned gun --

23   100-plus grams of heroin, two digital scales -- digital scales,

24   you're going to hear, are there to weigh and measure the heroin

25   for street distribution here in Baltimore City -- and a

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1    kilo press.

2              Now, you might not know what a kilo press is, but it's

3    going to be explained to you eventually.       And the explanation

4    is something like this:    When a large-scale drug dealer gets a

5    sizeable amount of drugs, they cut it, take out maybe 8 ounces

6    of it.   So that makes it look small.     They got it in a wrapper

7    'cause it comes in a kilo form, which is a thousand grams.

8    It's a brick form.    Drugs come in bricks from, not here in the

9    United States.   They come either from Asia or South America.

10   And they come in brick forms.

11             And so to make it look, again, like it did when it

12   came in, they add adulterants to it.      It's called cut.      They

13   put those 8 ounces back in, and then they use that hydraulic

14   press.   And they press it down real hard to put it back the way

15   it looked before, in a brick form.

16             And that's what Jimmie Griffin had in his basement, as

17   well as everything else.

18             Detective Hersl was there, and you'll hear he said,

19   You're going federal.    You are going federal.      We're not taking

20   you to state court.    You're going federal.      You're going

21   federal because of the amount of drugs, because of the second

22   time with a gun, and because of the kilo press in the

23   investigation.

24             There was also lawfully seized money in a safe and

25   money off of Jimmie Griffin.

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1               Herbert Tate, November 27th, 2015, also has knowledge

2    of the criminal justice system.      Herbert Tate, on

3    November 27th, 2015, was on Robb Street here in Baltimore City,

4    in East Baltimore.      I'm going to show you in a second.      It's

5    just the little dead-end -- little dead-end street which, in

6    essence, is an open-air drug market.

7               The evidence will show that this -- can we get --

8    Ms. Moyé, can we get the -- back on again.

9               THE CLERK:    Just touch it.

10              MR. PURPURA:     It's not on.

11              All right.    It's on there.    It's not on my screen.

12   I'm sorry.    Good.   I apologize.

13              Can you all see it?

14              Okay.   Great.

15              This is Robb Street.    The evidence will show -- and it

16   will show -- that Herbert Tate, at least he gives his address

17   as in Reisterstown.     That's a ways off from Robb Street in

18   East Baltimore.

19              And the evidence will show that Detective Hersl,

20   Sergeant Burns, and Detective Fassl are working plainclothes

21   narcotics.    They know this is an open-air drug market.        They

22   pull up.   They see Herbert Tate hand-to-hand.       Herbert Tate

23   sees the officers, and what does he do?       He takes the drugs and

24   he -- he's right back here.      See there's a cut?    We call it a

25   cut.   That's a passageway to another street right where those

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1    bushes are (indicating).

2             He takes the drugs; he throws them there.         The

3    detectives see where the drugs go.      They pick up the drugs.

4    They seize 'em.   It turns out to be two bags.       One has 15

5    blue-and-white gelcaps of heroin.      Another has 50

6    blue-and-white gelcaps of heroin.

7             Now, you're going to hear in the statements that

8    Mr. Tate said he had hundred-dollar bills and 20 on him.          Well,

9    if he had hundreds and 20s, that's really not indicative of a

10   low-level drug trafficker, because when you're selling these

11   small amounts of drugs, you're going to hear they go for $10 or

12   $20 at a hit.

13            But, again, the evidence will show that Mr. Tate is

14   incorrect, because the evidence received off of Mr. Tate when

15   his money is presented into Baltimore City Police Department is

16   going to be a lot of ones, a lot of fives, and some twenties.

17   And that, you will hear, is indicative of low-level drug

18   trafficking here on Robb Street in Baltimore City.

19            Antonio Santiful is a criminal.       Antonio Santiful,

20   before November 28th, 2015, had two prior drug convictions for

21   possession of drugs:    one in Harford County, one in

22   Baltimore City.   And get this:    He had two prior handgun

23   convictions here in Baltimore City.

24            On November 28th, 2015, again, Antonio Santiful

25   doesn't live in the 2100 or the 2200 block of Aiken Street.           As

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1    a matter of fact, he lives about three miles away, but that's

2    not where he's going to be dealing his drugs.           He takes his

3    drugs to another neighborhood in the city, which, again, on the

4    east side of Baltimore, is an open-air drug market, and he's

5    there dealing.

6                He's dealing with another young man, Deontray Brown.

7    Detective Hersl, other detectives see him dealing.            They pull

8    up.    They see Deontray Brown throw or take the package of drugs

9    that he has, puts them in his mouth.         They come up to him; they

10   make him spit it out.       He spits it out.     It's a Zip bag

11   containing six more Zip bags of cocaine.

12               They stop Antonio Santiful.      They get his keys.      They

13   go to where his car is located about a block away.

14               I guess if I just keep on pressing, we find out where

15   the car is.

16               They call a K9.    K9 comes, hits on the car.       They go

17   in the car.     The car turns out to be owned by

18   Shanequi Santiful, who is the sister of Antonio Santiful.                In

19   that car are two more zips which match exactly the zips found

20   in Deontray Brown's mouth and a loaded Smith & Wesson

21   .32-caliber revolver.       Third gun.

22               Ronald Hamilton.     Ronald Hamilton is a criminal.

23   Ronald Hamilton in 1999 came into this very courthouse here,

24   and he pled guilty to conspiracy to distribute 500 or more

25   grams of cocaine.      He received a substantial sentence and

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1    eventually was released.

2               And when you're released in the federal system, since

3    we don't have parole, he was placed on supervised release.            And

4    while still on supervised release, he was back at it again.

5    This time an even larger quantity.      And in 2009 he comes back

6    here to the Federal Court and again pleads guilty to conspiracy

7    to distribute 5 kilograms or more of cocaine, receives a

8    sentence, and is released sometime about a year or so before

9    this incident.

10              What the evidence will show about this incident is

11   that Detective Rayam was attempting to do an honest

12   investigation, which they did 90 percent of the time.

13              He had a CI.    A CI is a confidential informant.      The

14   CI is a cousin of Ronald Hamilton.

15              The CI gives information that my cousin is still

16   trafficking.    My cousin has got a gun.

17              At that point Detective Rayam will tell you that he

18   had statewide authority.     Now, he's a Baltimore City police

19   officer.   But when you're involved in a task force involving

20   major drug traffickers, the Maryland State Police can give you

21   statewide authority.      And that's what he had.

22              And the evidence will show just prior to July 8th,

23   2016, Danny Hersl, he had nothing to do with that

24   investigation.   As a matter of fact, Danny Hersl was in

25   Ocean City, Maryland, on vacation up to the day before this

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1    incident, maybe two days before this incident.

2             And this is an ongoing investigation.

3             Detective John Clewell will come in and say that he

4    was doing independent surveillance of another Hamilton series

5    of houses that Mr. Hamilton owns through relatives in

6    Baltimore City before July 8th, 2016.

7             Now, July 8th, 2016, is what's called takedown day.

8    They have a warrant.    They have a warrant to go up to

9    Carroll County to search his house and I believe to search his

10   car as well.

11            Detectives Rayam and Gondo in one car;

12   Detective Clewell, then, on July 8th calls Danny Hersl to be

13   his passenger, his second set of eyes.       They do observations in

14   Baltimore County at a Home Depot.

15            They see the vehicle leave.      They follow the vehicle.

16   They're told by their supervisor at that time, who's

17   Sergeant Jenkins, "Take him down.      Stop him now."

18            He abides by orders.     They arrest and stop and detain

19   both Nancy Hamilton and Ronald Hamilton.       They take him back to

20   a substation.   And at that point three officers -- not Hersl --

21   three officers -- Jenkins, Rayam, and Gondo -- interviewed

22   Mr. Hamilton.

23            And then since they have a search warrant for the

24   house, they're going to take the Hamiltons back to the house.

25   They believe they're going to find drugs and guns in that

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1    house, as well as money.    And if they did, they'd be arrested

2    at that point and turned over to the Carroll County

3    authorities.

4             Dan Hersl rides back, rides to the house with

5    Detective Jenkins.   Rayam and Gondo take Mr. and Mrs. Hamilton

6    in their car.

7             They get to the house.      Dan Hersl, for the vast

8    majority of the time, sits in the living room with the

9    Hamiltons, because you're not allowed to roam around your house

10   when your house is being searched.      So he's there with them,

11   and someone's watching them.     And that's what Ronald Hamilton

12   is going to tell you Dan Hersl was doing.

13            There is money found upstairs.       What the evidence will

14   show, there is at least $50,000.      And that's called plastic,

15   heat-sealed wrapping.

16            Now, I know y'all don't do that, take your money and

17   put it in plastic wrapping like that, heat-sealed.

18            And you're going to hear there's a reason why drug

19   traffickers do that, because when they move their money from

20   place to place, they want to avoid detection.        And they believe

21   that if it's heat-sealed like that, a K9 won't hit on it and

22   will avoid the smell, because that type of money around those

23   type of drugs sets off alarms.

24            But Ronald Hamilton will tell you that he's not a drug

25   dealer, and the Government's going to vouch for his credibility

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1    because it fits their pattern of the case.

2              He's going to tell you that he won that money

3    gambling, and we all know how lucky you can be day after day

4    gambling and winning money.

5              As a matter of fact, we have his gambling records, and

6    his gambling record shows that he lost $153,000 in 2016.

7    That's a man who just got out of jail.

8              2015, another 100,000-plus dollars lost.

9              But the Government's going to vouch for his

10   credibility.

11             Rayam took $20,000, put it in the back of the police

12   car.   Maryland State Police came in.     Only thing they got was

13   that $50,000.

14             When they got back to Baltimore City, Gondo and Rayam

15   split money.    Jenkins got a share of money.      Jenkins then gave

16   Dan Hersl approximately $3,000 of stolen money.

17             Not extortion.   Not a robbery.

18             Dennis Armstrong, August 8th, 2016, the last incident.

19   Dennis Armstrong's coming out of a storage area.         And the

20   detectives or the police will tell you that storage areas, if

21   you watch them, they're synonymous with people keeping drugs in

22   there.   They want to keep them away from their house or guns.

23   So they watch 'em, especially here in Baltimore City.

24             Dennis Armstrong comes out.     In the vehicle -- the

25   police vehicle at that time is Jenkins; Detective Clewell, his

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1    passenger; Danny Hersl is in the back.       Jenkins pulls the car

2    over, basically says, "You don't have a seat belt on, young

3    man."

4             And at that point Dennis Armstrong takes off.

5    High-speed chase.   And as he is driving down the streets of

6    Baltimore, he will tell you, as well as John Clewell will tell

7    you, that he was tossing snowball-sized chunks of cocaine

8    outside of the car window, exploding on the street,

9    (indicating).

10            And when he's stopped, 'cause he comes to a dead-end,

11   he bails out and runs.    John Clewell gets out, runs after him,

12   and catches him.    He's got more drugs on him.

13            And the car is coated -- front seat, backseat.          You

14   can imagine when you're throwing it out -- with cocaine.

15            They take him back to the storage area.         They attempt

16   to go get a warrant for the storage facility locker that he

17   came from.   And during that time, while he's present,

18   Dennis Armstrong, who has three prior possession with intent to

19   distribute drugs here in Baltimore City -- it's Number 4

20   (indicating) -- says he watches Hersl go through his car and

21   search his car, and he sees money.      And he sees the money being

22   placed in a bag.

23            And there was money placed in a bag.        It was placed in

24   an evidence bag along with the rest of the evidence seized.

25            And the evidence will show -- and it will show --

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1    that, again, this is another time that before the evidence gets

2    to the evidence storage locker, Dan Hersl takes maybe $500 out

3    of the bag -- there's multiple thousands in there -- he gave

4    500 to Rayam and perhaps 500 to Gondo.       The rest is turned in.

5               The crime of the moment, the crime of theft.       No one's

6    proud of it.    Shouldn't be a police officer.      He's not a police

7    officer.   But it's not, as all these incidents will show, what

8    the Government's charged.     That's really your duty in this

9    case.   You take one wrong versus another wrong.       Just make the

10   right decision which one it is.

11              Thank you.

12              THE COURT:   Thank you, Mr. Purpura.

13        (12:39 p.m.)

14        (End of excerpt.)

15        I, Douglas J. Zweizig, RDR, CRR, do hereby certify that

16   the foregoing is a correct transcript from the stenographic

17   record of proceedings in the above-entitled matter.

18
                                    /s/
19
                       Douglas J. Zweizig, RDR, CRR
20                     Registered Diplomate Reporter
                       Certified Realtime Reporter
21                    Federal Official Court Reporter
                          DATE: February 4, 2018
22

23

24

25

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                                                                 anyway [1] 6/21
$                               8                                apartment [2] 8/18 13/19
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'                                7/24                             17/19
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1                               according [1] 4/18               as [29]
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